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 9 Attorneys for WAYMO LLC

10                              UNITED STATES DISTRICT COURT

11             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

13                Plaintiff,                     DECLARATION OF LINDSAY COOPER
                                                 IN SUPPORT OF PLAINTIFF WAYMO
14       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                 FILE UNDER SEAL ITS LETTER BRIEF
15 UBER TECHNOLOGIES, INC.;                      OPPOSING DEFENDANTS’ REQUEST
   OTTOMOTTO LLC; OTTO TRUCKING                  TO FILE A SUR-REPLY IN SUPPORT OF
16 LLC,                                          WAYMO’S MOTION TO COMPEL
17                Defendants.

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                                                                     CASE NO. 3:17-cv-00939-WHA
                                    COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 458-1 Filed 05/17/17 Page 2 of 2




 1 I, Lindsay Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to
 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,
 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set
 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.
 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under
 7 Seal its May 17, 2017 Letter Brief opposing Defendants’ Request to File a Sur-Reply in Opposition to
 8 Waymo’s Motion to Compel and Exhibit 1 thereto (the “Administrative Motion”).                         The
 9 Administrative Motion seeks an order sealing the following materials:
10                        Document                    Portions to Be Filed          Designating Party
                                                          Under Seal
11           Letter Brief                            Highlighted in Blue         Defendants
12           Exhibit 1 to Letter Brief               Highlighted in Blue         Defendants

13          3.      The Letter Brief and Exhibit 1 thereto contain references to information that Waymo

14 believes is considered confidential or non-public by one or more Defendants
15          4.      Waymo takes no position as to the merits of sealing any of Defendants’ designated

16 material, and expects Defendants to file one or more declarations in accordance with the Local Rules.
17
18          I declare under penalty of perjury under the laws of the State of California that the foregoing is

19 true and correct, and that this declaration was executed in San Francisco, California, on May 17, 2017.
20                                                  By /s/ Lindsay Cooper
                                                       Lindsay Cooper
21                                                     Attorneys for WAYMO LLC
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23                                     SIGNATURE ATTESTATION

24          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

25 filing of this document has been obtained from Lindsay Cooper.
26
                                                   /s/ Charles K. Verhoeven
27                                                   Charles K. Verhoeven
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                                                      -2-                   CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
